81 F.3d 150
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roy Garey LINDSEY, Plaintiff-Appellant,v.Parker EVATT, Commissioner, South Carolina Department ofCorrections;  W. Wallace, Warden, CCI;  Joyce E. Brown,Deputy Warden, CCI;  Warren Koestner, ClassificationCaseworker, CCI;  Sergeant Foster, Warden, CCI;  JamesHarvey, Regional Administrator, HQ, SCDC;  Earl Brown,Deputy Warden, CCI;  Aaron J. Kelly, ClassificationCaseworker, CCI;  Sammie Brown, Director of Classification,HQ, SCDC;  Aldean Henley, Classification Caseworker, PCI;Matthew Ogunsile, Head Classification Official, PCI;  C.L.Brock, Deputy Warden, PCI;  S.R. Witkowski, Warden, PCI;D.F. Dease, Regional Administrator, Appalachian RegionalOffice, SCDC, Defendants-Appellees.
    No. 95-7695.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 4, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Rock Hill.  William B. Traxler, Jr., District Judge.  (CA-94-291-0-21BD)
      Roy Garey Lindsey, Appellant Pro Se.  Raymon E. Lark, Jr., BELSER, LEWIS, ROGERS &amp; LARK, Columbia, South Carolina, for Appellees.
      D.S.C.
      AFFIRMED.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Lindsey v. Evatt, No. CA-94-291-0-21BD (D.S.C. Sept. 26, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    